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                     IN THE UNITED STATED DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

BAY, INC. AND                )
DENNIS BERRY                 )
     PLAINTIFFS              )
                             )
V.                           )                           CIVIL ACTION __________
                             )                           JURY TRIAL DEMANDED
OHIO NATIONAL LIFE ASSURANCE )
CORPORATION AND UNDER        )
ITS COMMON OR ASSUMED NAME )
     DEFENDANT               )


                         PLAINTIFFS’ ORIGINAL COMPLAINT


            COMES NOW Plaintiffs, Bay, Inc. (Bay) and Dennis Berry (Berry) by and

through their undersigned counsel and for their original complaint against Ohio

National Life Assurance Corporation (Ohio) and in its common or assumed name,

hereby states and alleges as follows:

       I.        PARTIES

            1.     Bay is a Texas corporation with its principle offices located in Corpus

Christi, Texas.

            2.     Berry is an individual who resides in Nueces County, Texas.

            3.     Upon information and belief, Ohio and under its common or assumed

name is an Ohio corporation with its principle place of business located at One

Financial Way, Cincinnati, Ohio 45242. The defendant is authorized and registered

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to do business in Texas and may be served by serving its registered agent/attorney

for service Corporation Service Company d/b/a Csc-Lawyers, 211 E. 7th St.

Suite 620, Austin, Texas 78701-3218.

       II.        VENUE AND JURISDICTION

             4.     This Court has jurisdiction to entertain this action under 28 U.S.C. §

1332 because there is complete diversity of citizenship between the plaintiffs and

the defendant and the matter in controversy exceeds the sum of $75,000.00,

exclusive of interest and costs. More specifically, this action involves a life

insurance policy, the face value of which is $2 million.

             5.     Venue is proper in the United States District Court for the Southern

District of Texas, Corpus Christi Division, under 28 U.S.C. § 1391 as the life

insurance policy/account at issue in this lawsuit was marketed, sold and serviced in

this district; Bay’s principal place of business is located within this district; and

Berry, who is the named insured under the policy, is an individual who resides

within this district.

       III.       FACTUAL ALLEGATIONS

             6.     On or about October 28, 1985, Ohio issued a universal life policy

under policy number C6065811. Bay is the owner of the policy and Berry is the

named insured. Berry is a principle and owner of Bay and its various entities, all of




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which are located in Corpus Christi, Texas. Berry was 28 at the time the policy

was issued by Ohio.

       7.    Money was routinely taken out of the equity of the policy to pay the

premiums, and, if there was a shortage, Bay paid the difference. If a shortage was

due, Ohio would send written letters to Bay informing Bay of what would be

required to pay to make up the difference. This went on for over 30 years.

       8.    On or about July 2017, a payment may have been due by Bay, but Bay

does not recall receiving any letter to pay a shortage as had been done in the past.

Once the time for payment had expired, Texas law required Ohio to send a notice

of payment due for a grace period of 30 days.

       9.    Ohio sent a grace period notice on August 1, 2017, stating payment

was due on September 26, 2017. Ohio sent another grace period notice on August

31, 2017, stating the payment was due by September 26, 2017.

       10.   On September 22, 2017, Bay sent a check in the full amount to Ohio

at its listed post office box in Cincinnati, Ohio. By subsequent letter, Ohio claimed

it received the payment on September 27, 2017. Ohio then canceled the policy.

       11.   Bay attempted to obtain a copy of the insurance contract from Ohio.

Bay tendered the $25.00 copy fee to Ohio. Ohio returned the money and refused to

provide Bay a copy of the insurance copy.




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            12.     Plaintiffs contend Ohio received the payment in time. All conditions

precedent have occurred. Plaintiffs plead the mail box rule, actual receipt,

constructive receipt, waiver and estoppel.

       IV.        COUNT ONE - REQUEST FOR DECLARATORY RELIEF

            13.     Pursuant to 28 U.S.C. 2201 et seq., Plaintiffs seek a declaration that

their obligations under the written contract were fulfilled, that the policy did not

lapse, that the payments were timely, and that the policy is still in full force and

effect. In the alternative, Plaintiffs seek a declaration reinstating the policy.

       V.         COUNT TWO - BREACH OF CONTRACT (Alternative Pleading)

            14.     Plaintiffs incorporate the allegations in the preceding paragraphs as if

copied verbatim herein.

            15.     Pleading in the alternative, if such be necessary, there was a contract

of insurance between Bay and Ohio, with Berry being the named insured. Bay

timely made all payments and yet, Ohio wrongfully canceled the contract. In

addition, the grace period notice dated August 31, 2017 started a new mandated

30-day grace period and such 30 days was not given by Ohio. Ohio did not

comply with Texas law governing grace period for life insurance contracts. If

there was a lapse, then Ohio materially breached its agreement to reinstate.

            16.     As a result of Ohio’s material breach of contract, Bay and Berry have

suffered damages. However, there is no adequate remedy at law. This insurance



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policy has a $2 million value, and Bay and Berry, thru no fault of their own, have

lost that value due to the conduct of Ohio. The triggering event under the policy is

the death of Berry. That event has fortunately not occurred, and God-willing, will

not occur for many more years. In the meantime, though, the policy has the value

of the benefit bargained for, i.e. the amount of the life insurance benefits. Thus,

damages prior to the death of the named insured would be inadequate

compensation. Furthermore, Plaintiffs are ready, willing and able to perform under

the policy. In fact, they have, in fact, performed by tendering the premiums due.

       17.      Bay therefore seeks specific performance of the agreement to

reinstate, plus attorney fees in accordance with Texas law.

       WHEREFORE, Bay and Berry pray for the following relief:

             A. that the Court enter judgment declaring that their obligations under the

life insurance policy were fulfilled, that the policy did not lapse, that the payments

were timely, and that the policy is still in full force and effect;

             B. alternatively, that the Court enter a declaration that all payments were

timely made and that the policy was reinstated;

             C. alternatively, that the Court enter a judgment in Bay’s and Berry’s

favor and against Ohio for specific performance;

             D. that Bay and Berry be awarded their reasonable attorney fees and

costs incurred in prosecuting this case; and



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          E. for such other and further relief, legal and equitable as this Court

seems just and fair.

                         Respectfully Submitted,

                               LAW OFFICES OF J. MITCHELL CLARK

                                     J. Mitchell Clark
                                     State Bar No. 04283900
                                     Federal ID No. 11427
                                     Mailing Address:
                                     P.O. Box 2701
                                     Corpus Christi, Texas 78403
                                     Telephone: (361) 887-8500
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                               DUNN, WEATHERED, COFFEY & KASPERITIS, P.C.
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                                    Corpus Christi, Texas 78401
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                                    Email: frank@weatheredlaw.com

                                     /s/ J. Mitchell Clark_________
                                     J. Mitchell Clark
                                     Frank Weathered
                                     Attorneys for Plaintiffs




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JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Bay, Inc. and Dennis Berry                                                                                  Ohio National Life Assurance Corporation and Under Its Common or
                                                                                                            Assumed Name
    (b) County of Residence of First Listed Plaintiff             Nueces County, Texas                        County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Mitchel Clark of Law Offices of J. Mitchell Clark
PO Box 2701, Corpus Christi, TX 78403
361-887-8500

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 USC 2201
VI. CAUSE OF ACTION Brief description of cause:
                                           Declaratory judgment and breach of contract.
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
11/27/2017                                                              /s/ J. Mitchell Clark
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
